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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT CHARLESTON

STEVEN TODD ASHWORTH,

        Movant,

v.                                            CIVIL ACTION NO.    2:06-0865
                                              CRIMINAL ACTION NO. 2:03-0278-1
UNITED STATES OF AMERICA,

        Respondent.

                    MEMORANDUM OPINION AND JUDGMENT ORDER

        By Standing Order filed in this case on October 11, 2006,

this matter was referred to United States Magistrate Judge Mary E.

Stanley.      Pursuant to 28 U.S.C. § 636(b)(1)(B), the Standing Order

directs Magistrate Judge Stanley to submit proposed findings and

recommendation concerning the disposition of this matter.

Magistrate Judge Stanley submitted her Proposed Findings and

Recommendation on November 13, 2006, and proposed that this court

grant movant’s 28 U.S.C. § 2255 motion concerning the denial of

his direct appeal, and vacate and re-enter movant’s criminal

judgment to allow for a new appeal period.                  (Doc. No. 168.)

       In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge Stanley's Proposed

Findings and Recommendation.             Neither party filed any objections

to the magistrate judge’s proposed findings.                  The failure of any

party to file objections within the appropriate time frame

constitutes a waiver of such party's right to a de novo review by
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this court.    Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989);

Thomas v. Arn, 474 U.S. 140 (1985).

     Having reviewed the Findings and Recommendation filed by

Magistrate Judge Stanley, the court (1) CONFIRMS and ACCEPTS the

magistrate judge’s findings; (2) GRANTS movant’s motion under 28

U.S.C. § 2255 (Doc. No. 161); (3) VACATES movant’s Amended

Judgment in Criminal Case Number 2:03-0278-01; and (4) RE-ENTERS

the Amended Judgment without change.         An Amended Judgment in a

Criminal Case, Amended Sealed Memorandum of Sentencing Hearing,

and Amended Sealed Statement of Reasons will be entered in

movant’s criminal case contemporaneously with this order.

     As a result of the court’s vacating and re-entering of the

Amended Judgment entered upon movant’s resentencing in October of

2005, the time period for movant to appeal that resentencing

begins anew with the re-entry of the Amended Judgment in movant’s

criminal case.     The court informs movant again of his right to

appeal the sentence imposed at his resentencing hearing in October

of 2005, and the requirement that in order to initiate such an

appeal, a Notice of Appeal must be filed in this court within 10

days of the re-entry of the Amended Judgment.            Movant is advised

that if he wishes to appeal the sentence and cannot afford to hire
counsel to represent him on appeal, the court will appoint counsel

for him.   Movant is further advised that if he so requests, the

Clerk of the court will prepare and file a notice of appeal on his

behalf.


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     The Clerk is directed to remove this action from the active

docket of this court, and to forward a copy of this Memorandum

Opinion and Judgment Order to all counsel of record and the

movant.

     IT IS SO ORDERED this 6th day of December, 2006.

                                            ENTER:



                                        David A. Faber
                                        Chief Judge




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